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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

 In re:
                                                               Chapter 11
                                                   1
  WATER GREMLIN COMPANY, et al.,
                                                               Case No. 23-11775 (LSS)
                        Debtors.
                                                               (Jointly Administered)


                      SECOND AMENDMENT OF STATEMENT OF FINANCIAL
                        AFFAIRS FOR WATER GREMLIN HOLDINGS, INC.




______________________________________________
1
  . The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: WG Sub, LLC (“WG Sub”) (0781), Water Gremlin Holdings, Inc. (“Holdings”) (9250), and Water
Gremlin Company (“Water Gremlin”) (6396).
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                            )
In re:                                                      ) Chapter 11
                                                            )
WATER GREMLIN COMPANY, et al., 1                            ) Case No. 23-11775 (LSS)
                                                            )
                  Debtors.                                  ) (Jointly Administered)
                                                            )
                                                            )

      GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY,
     AND DISCLAIMERS REGARDING DEBTORS’ SCHEDULES OF ASSETS AND
            LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        The above-captioned debtors and debtors in possession (collectively, the “Debtors”), with
the assistance of their advisors, have filed their respective Schedules of Assets and Liabilities
(collectively, the “Schedules”) and Statements of Financial Affairs (collectively, the
“Statements”) in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”), pursuant to section 521 of title 11 of the United States Code (the
“Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure.

       These Global Notes and Statement of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs
(the “Global Notes”) pertain to, are incorporated by reference in, and comprise an integral part of
each of the Schedules and Statements. These Global Notes should be referred to, considered, and
reviewed in connection with any review of the Schedules and Statements.2 In the event that the
Schedules and/or Statements differ from these Global Notes, these Global Notes control.

         While the Debtors’ management and advisors have made reasonable efforts to ensure that
the Schedules and Statements are as accurate and complete as possible under the circumstances,
based on information available at the time of preparation, subsequent information or discovery
may result in material changes to these Schedules and Statements, and inadvertent errors,
inaccuracies, or omissions may have occurred. Because the Schedules and Statements contain
unaudited information, which is subject to further review, verification, and potential adjustment,
there can be no assurance that these Schedules and Statements are complete. The Debtors reserve
all rights to amend or supplement the Schedules and Statements from time to time, in all respects,
as may be necessary or appropriate, including, without limitation, the right to amend the Schedules
and Statements with respect to a claim (as defined in section 101(5) of the Bankruptcy Code,
         1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: WG Sub, LLC (“WG Sub”) (0781), Water Gremlin Holdings, Inc. (“Holdings”) (9250),
and Water Gremlin Company (“Water Gremlin”) (6396).
         2
           These Global Notes supplement and are in addition to any specific notes contained in each Debtor’s
Schedules or Statements. The fact that the Debtors may reference an individual Debtor’s Schedules and Statements
and not those of another Debtor should not be interpreted as a decision by the Debtors to exclude the applicability of
such reference to any of the Schedules and Statements of any other Debtor, as applicable.
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“Claim”) description or designation; dispute or otherwise assert offsets or defenses to any Claim
reflected in the Schedules and Statements as to amount, liability, priority, status, or classification;
subsequently designate any Claim as “disputed,” “contingent,” or “unliquidated;” or object to the
extent, validity, enforceability, priority, or avoidability of any Claim. Any failure to designate a
Claim in the Schedules or Statements as “disputed,” “contingent,” or “unliquidated” does not
constitute an admission by the Debtors that such Claim or amount is not “disputed,” “contingent,”
or “unliquidated.” Listing a Claim does not constitute an admission of liability by the Debtors.
Nothing contained in the Schedules and Statements shall constitute a waiver of any right of the
Debtors or an admission with respect to the Debtors’ Chapter 11 Cases (as defined herein)
(including, but not limited to, issues involving claims, substantive consolidation, defenses,
equitable subordination, and/or causes of action arising under the provisions of chapter 5 of the
Bankruptcy Code or any other relevant non-bankruptcy laws to recover assets or avoid transfers).

        The Debtors and their agents, attorneys and financial advisors do not guarantee or warrant
the accuracy or completeness of the data that is provided herein, and will not be liable for any loss
or injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating, or delivering the information contained herein. The Debtors and their agents,
attorneys, and financial advisors expressly do not undertake any obligation to update, modify,
revise, or re-categorize the information provided herein, or to notify any third party should the
information be updated, modified, revised, or re-categorized, except as required by applicable law.
In no event will the Debtors or their agents, attorneys and/or financial advisors be liable to any
third party for any direct, indirect, incidental, consequential, or special damages (including, but
not limited to, damages arising from the disallowance of a potential claim against the Debtors or
damages to business reputation, lost business, or lost profits), arising from the accuracy or
completeness of the data provided herein whether foreseeable or not and however caused, even if
the Debtors or their agents, attorneys, and financial advisors are advised of the possibility of such
damages.

       Bradley J. Hartsell, the President or Authorized Person of the Debtors, has signed the
Schedules and Statements. Mr. Hartsell is an authorized signatory for the Debtors. In reviewing
and signing the Schedules and Statements, Mr. Hartsell has necessarily relied upon the efforts,
statements, and representations of various third parties involved in the Debtors’ operations. Mr.
Hartsell has not (and could not have) personally verified the accuracy of each such statement and
representation, including statements and representations concerning amounts owed to creditors.

               I. GLOBAL NOTES AND OVERVIEW OF METHODOLOGY
          1.     Description of the Chapter 11 Case. On October 27, 2023 (the “Petition
  Date”), the Debtors filed voluntary petitions for relief under chapter 11 of the Bankruptcy
  Code. The Debtors are operating their business and managing their property as debtors in
  possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code (the “Chapter 11
  Cases”). On November 1, 2023, an order was entered directing joint administration of these
  Chapter 11 Cases [Docket No. 33]. Notwithstanding the joint administration of the Debtors’
  Chapter 11 Cases for procedural purposes, each Debtor has filed its own Schedules and
  Statements. The information provided herein, except as otherwise noted, is reported as of the
  Petition Date. On November 7, 2023, the United States Trustee for the District of Delaware

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(the “U.S. Trustee”) appointed an official committee of unsecured creditors (the
“Committee”). No trustee or examiner has been appointed in the Chapter 11 Cases.

         2.     Basis of Presentation. For financial reporting purposes, in the ordinary course
prior to the Petition Date, the Debtors prepared financial statements that were consolidated by
Holdings. Combining the assets and liabilities set forth in the Schedules and Statements would
result in amounts that may be different from financial information that would be prepared on a
consolidated basis under Generally Accepted Accounting Principles (“GAAP”). The Schedules
and Statements do not purport to represent financial statements prepared in accordance with
GAAP nor are they intended to fully reconcile to the financial statements prepared by the
Debtors. Unlike the consolidated financial statements, the Schedules and Statements reflect the
assets and liabilities of each separate Debtor, except where otherwise indicated. Information
contained in the Schedules and Statements has been derived from the Debtors’ books and
records and historical financial statements.

        3.     Moreover, given, among other things, the extent of the Debtors’ unused net
operating losses and the uncertainty surrounding the valuation and nature of certain of the
Debtors’ assets and liabilities, to the extent that a Debtor shows more assets than liabilities, this
is not an admission that a Debtor was solvent as of the Petition Date or at any time prior to the
Petition Date.

        4.      Reservation and Limitations. While reasonable efforts have been made to
prepare and file complete and accurate Schedules and Statements, inadvertent errors or
omissions may exist. The Debtors reserve all rights to amend and/or supplement the Schedules
and Statements from time to time as is necessary or appropriate. Nothing contained in the
Schedules and Statements constitutes a waiver of any of the Debtors’ rights or an admission of
any kind with respect to these Chapter 11 Cases, including, but not limited to, any rights or
claims of the Debtors against any third party or issues involving substantive consolidation,
equitable subordination, or defenses or causes of action arising under the provisions of chapter
5 of the Bankruptcy Code or any other relevant applicable bankruptcy or non-bankruptcy laws
to recover assets or avoid transfers. Any specific reservation of rights contained elsewhere in
these Global Notes does not limit in any respect the general reservation of rights contained in
this paragraph.

        5.     No Admission. Nothing contained in the Schedules and Statements is intended
as, or should be construed as, an admission or stipulation of the validity of any claim against
any Debtor, any assertion made therein or herein, or a waiver of any of the Debtors’ rights to
dispute any claim or assert any cause of action or defense against any party.

II. GENERAL DISCLOSURE APPLICATION TO SCHEDULES AND STATEMENTS

        6.      Causes of Action. Despite their reasonable efforts to identify all known assets,
the Debtors may not have listed all of their causes of action or potential causes of action against
third-parties as assets in the Schedules and Statements, including causes of actions arising under
the provisions of Chapter 5 of the Bankruptcy Code and any other relevant nonbankruptcy laws
to recover assets or avoid transfers. The Debtors reserve all of their rights with respect to any
cause of action (including avoidance actions), controversy, right of setoff, cross claim,

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counterclaim, or recoupment, and any claim in connection with any contract, breach of duty
imposed by law or in equity, demand, right, action, lien, indemnity, guaranty, suit, obligation,
liability, damage, judgment, account, defense, power, privilege, license, and franchise of any
kind or character whatsoever, known, unknown, fixed or contingent, matured or unmatured,
suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured or
unsecured, assertable directly or derivatively, whether arising before, on, or after the Petition
Date, in contract or in tort, in law or in equity, or pursuant to any other theory of law
(collectively, “Causes of Action”) it may have, and neither these Global Notes nor the
Schedules nor the Statements shall be deemed a waiver of any Causes of Action or in any way
prejudice or impair the assertion of any such Causes of Action.

       7.       Recharacterization. The Debtors have made reasonable efforts to correctly
characterize, classify, categorize, and designate the claims, assets, executory contracts,
unexpired leases, and other items reported in the Schedules and Statements. However, the
Debtors may have inadvertently improperly characterized, classified, categorized, designated,
or omitted certain items due to the complexity of the Debtors’ business. Accordingly, the
Debtors reserve all of their rights to recharacterize, reclassify, recategorize, or redesignate items
reported in the Schedules and Statements at a later time as necessary or appropriate, including,
without limitation, whether contracts or leases listed herein were deemed executory or
unexpired as of the Petition Date and remain executory and unexpired postpetition.

        8.      Claim Designations. Listing a claim (i) on Schedule D as “secured,” (ii) on
Schedule E/F part 1 as “unsecured priority” or (iii) on Schedule E/F part 2 as “unsecured
nonpriority,” does not constitute a waiver of any of the Debtors’ rights to recharacterize,
reclassify, recategorize, or redesignate such claim. Furthermore, listing a contract on Schedule
G as “executory” or “unexpired,” does not constitute an admission by the Debtors that such
contract or agreement is an executory contract or unexpired lease nor a waiver of the Debtors’
right to recharacterize, reclassify or dispute the validity, status or enforceability of any
contracts, agreements or leases set forth on Schedule G and to amend or supplement such
Schedule, as necessary.

        9.      Totals. All totals that are included in the Schedules and Statements represent
totals of all known and estimated amounts included in the Schedules and Statements. To the
extent there are unknown, disputed, contingent, unliquidated, or otherwise undetermined
amounts, the actual total may be materially different than the listed total. The description of an
amount as “unknown,” “disputed,” “contingent,” “unliquidated,” or “undetermined” is not
intended to reflect upon the materiality of such amount. Due to numerous unliquidated,
contingent and/or disputed claims, it is possible that the summary statistics in the Schedules,
Statements and Global Notes may understate the Debtors’ liabilities (possibly to a significant
extent).

        10.    Court Orders. Pursuant to certain orders of the Bankruptcy Court, the Debtors
were authorized (but not directed) to pay, among other things, certain prepetition claims,
including with respect to employees, among others. Accordingly, certain of these liabilities
may have been, or will be, satisfied in accordance with such orders. Where the Schedules list
creditors and set forth the Debtors’ scheduled amount of such claims, such scheduled amounts
reflect amounts owed as of the Petition Date. However, the estimates of claims set forth in the

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Schedules may not reflect assertions by the Debtors’ creditors of a right to have such claims
paid or reclassified under the Bankruptcy Code or orders of the Bankruptcy Court.

         11.    Other Paid Claims. To the extent the Debtors have reached any postpetition
settlement with a vendor or other creditor, the terms of such settlement will prevail, supersede
amounts listed in the Schedules and Statements, and shall be enforceable by all parties, subject
to any necessary Bankruptcy Court approval. To the extent the Debtors pay any of the claims
listed in the Schedules and Statements pursuant to any orders entered by the Bankruptcy Court,
the Debtors reserve all rights to amend and supplement the Schedules and Statements and take
other action, such as filing claims objections or notices of satisfaction of such claims, as is
necessary and appropriate to avoid overpayment or duplicate payment for such liabilities.

        12.     Liabilities. The Debtors allocated liabilities between the prepetition and
postpetition periods based on the information and research conducted in connection with the
preparation of the Schedules and Statements. As additional information becomes available and
further research is conducted, the allocation of liabilities between the prepetition and
postpetition periods may change. The Debtors reserve all rights to modify, amend or
supplement the Schedules and Statements as is necessary or appropriate. The liabilities listed
on these Schedules do not reflect any analysis of claims under section 503(b)(9) of the
Bankruptcy Code. Accordingly, the Debtors reserve all rights to dispute or challenge the
validity of any asserted claims under section 503(b)(9) of the Bankruptcy Code or the
characterization of the structure of any such transaction or any document or instrument related
to such creditor’s claim.

       13.     Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

        14.     Valuation. The Debtors believe it would be prohibitively expensive, unduly
burdensome, and an inefficient use of estate assets for the Debtors to obtain current market
valuations of all of their assets. For these reasons, the Debtors have indicated in the Schedules
and Statements that the values of certain assets and liabilities are undetermined or unknown.
Unless otherwise indicated, the Schedules and Statements reflect net book values as of the
Petition Date. Exceptions to this include operating cash and certain other assets as described
herein. Operating cash is presented as bank balances as of the Petition Date. Amounts
ultimately realized may vary from net book value, and such variance may be material. The
omission of an asset from the Schedules and Statements does not constitute a representation
regarding the ownership of such asset, and any such omission does not constitute a waiver of
any rights of the Debtors with respect to such asset.

        15.      Leases. Nothing in the Schedules or Statements (including, without limitation
the failure to list leased property or equipment as owned property or equipment) is, or shall be
construed as, an admission as to the determination of legal status of any lease (including
whether any lease is a true lease or financing arrangement), and the Debtors reserve all of their
rights with respect to such issues. The Debtors lease facilities under various lease agreements.
These leases are reported on the Schedule G. To the extent that there was an amount outstanding
under any of these agreements as of the respective Petition Date, the amount owed to the
applicable lessor has been listed on Schedule E/F Part 2.


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        16.     Estimates. To prepare and file the Schedules in accordance with the deadline
established in the Chapter 11 Cases, management was required to make certain estimates and
assumptions that affected the reported amounts of these assets and liabilities as of the Petition
Date. The Debtors reserve the right to amend the reported amounts of assets and liabilities to
reflect changes in those estimates or assumptions.

       17.     Fiscal Year. The Debtors’ fiscal years end on September 30.

        18.     Intellectual Property Rights. Exclusion of certain intellectual property shall not
be construed to be an admission that such intellectual property rights have been abandoned,
have been terminated, or otherwise have expired by their terms, or have been assigned or
otherwise transferred pursuant to a sale, acquisition, or other transaction. Conversely, inclusion
of certain intellectual property shall not be construed to be an admission that such intellectual
property rights have not been abandoned, have not been terminated, or otherwise have not
expired by their terms, or have not been assigned or otherwise transferred pursuant to a sale,
acquisition, or other transaction. The Debtors reserve all of their rights with respect to the legal
status of any and all intellectual property rights.

        19.     Liens. The inventories, property, and equipment listed in the Statements and
Schedules are presented without consideration of any asserted mechanics’, materialmen, or
similar liens that may attach (or have attached) to such inventories, property, and equipment.

        20.     Credits and Adjustments. The claims of individual creditors for, among other
things, goods, products, services, or taxes are listed as the amounts entered on the Debtors’
books and records and may not reflect credits, allowances, or other adjustments due from such
creditors to the Debtors. The Debtors reserve all of their rights with regard to such credits,
allowances, and other adjustments, including the right to assert claims objections and/or setoffs
with respect to the same.

         21.     Insiders. In the circumstance where the Schedules and Statements require
information regarding “insiders,” the Debtors have included information with respect to certain
individuals who the Debtors believe may be included in the definition of “insider” set forth in
section 101(31) of the Bankruptcy Code during the relevant time periods. The listing of a party
as an insider for purposes of the Schedules and Statements is not intended to be, nor should it
be, construed as an admission of any fact, right, claim, or defense, and all such rights, claims,
and defenses are hereby expressly reserved. Information regarding the individuals listed as
insiders in the Schedules and Statements has been included for informational purposes only
and such information may not be used for (1) the purposes of determining (i) control of the
Debtors, (ii) the extent to which any individual exercised management responsibilities or
functions or corporate decision making authority over the Debtors, or (iii) whether such
individual could successfully argue that he or she is not an insider under applicable law,
including the Bankruptcy Code and federal securities laws, or with respect to any theories of
liability or (2) any other purpose.

        22.    Intercompany Claims. Receivables and payables among the Debtors are
reported on Schedule A/B and Schedule E/F, respectively. The listing of any amounts with
respect to such receivables and payables is not, and should not be construed as, an admission

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of the characterization of such balances as debt, equity, or otherwise. For the avoidance of
doubt, the Debtors reserve all rights, claims, and defenses in connection with any and all
intercompany receivables and payables, including with respect to the characterization of
intercompany claims. The Debtors engage in limited intercompany transactions with each
other, including the payment or funding of certain operating expenses as described in the
Debtors’ Motion For Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
Continue to Operate Their Cash Management System, (B) Honor Certain Prepetition
Obligations Related Thereto, (C) Maintain Existing Business Forms, and (D) Perform
Intercompany Transactions, (II) Waiving the Requirements of Section 345(b) On An Interim
Basis, and (III) Granting Related Relief [Docket No. 12] (the “Cash Management Motion”).

    III. SPECIFIC DISCLOSURES WITH RESPECT TO THE DEBTORS’
    SCHEDULES

         23.    Schedule A/B – All Assets. Except as otherwise set forth herein, the value of all
assets listed on Schedule A/B are as of the Petition Date, as reflected in the Debtors’ books and
records. The Debtors have performed no independent review of the value of these assets. The
actual value of the assets listed may differ significantly from the amounts reflected in each
Debtors’ books and records.

       24.     Schedule A/B, Parts 1 and 2 – Cash and Cash Equivalents; Deposits and
Prepayments. Details with respect to the Debtors’ cash management system and bank accounts
are provided in the Cash Management Motion and the orders of the Bankruptcy Court granting
the Cash Management Motion. The Debtors’ bank account balances, and the balances of
deposits and prepayments, are reported as of the Petition Date.

        25.      Schedule D - Creditors Holding Secured Claims. The descriptions provided on
Schedule D are intended only as a summary. Reference to the applicable agreements and related
documents is necessary for a complete description of the collateral and the nature, extent and
priority of any liens. Nothing in any Debtors’ Schedule D shall be deemed a modification,
interpretation, or waiver of the terms of any such agreements. Except as specifically stated
herein, utility companies and other parties that may hold security deposits have not been listed
on Schedule D. In addition, the Debtors have not included on Schedule D parties that may
believe their claims are secured through setoff rights or inchoate statutory lien rights.

        26.      Schedule E/F - Creditors Holding Unsecured Priority and/or Unsecured Non-
Priority Claims. The listing of any claim on Schedule E/F does not constitute an admission by
the Debtors that such claim or any portion thereof is entitled to priority treatment under section
507 of the Bankruptcy Code. The Debtors reserve all of their rights to dispute the amount and/or
the priority status of any claim on any basis at any time.

        27.     The Debtors have obtained authority from the Bankruptcy Court to pay certain
prepetition claims, including those of employees pursuant to the Final Order (I) Authorizing
the Debtors to (A) Pay Prepetition Wages, Salaries, Other Compensation, and Reimbursable
Expenses and (B) Continue Employee Benefits Programs, and (II) Granting Related Relief
[Docket No. 91] (the “Wage Order”). The Wage Order authorizes the Debtor to pay in the
ordinary course accrued but unpaid PTO upon termination of an employee, unless such amount

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exceeds the limits of sections 507(a)(4) and 507(a)(5). The Debtors expect that all or most
prepetition claims of current employees for wages, salaries, benefits and other related
obligations either have been paid or will be paid in the ordinary course of business. Thus,
Schedule E/F Part 1 does not include prepetition claims of employees on account of wages,
salaries, benefits and other obligations that the Debtors have paid or expect to pay in the
ordinary course of business, however Schedule E/F Part 1 does list claims for accrued but
unpaid PTO. To the extent any claims on account of employee wages, salaries, benefits, and
other obligations are not paid, the Debtors reserve the right to amend Schedule E/F Part 1 and
Part 2, as necessary or appropriate.

        28.     The unsecured non-priority claims of creditors for among other things, products,
goods or services are listed as either the lower of the amounts invoiced by the creditor or the
estimated accrued amounts reflected on the Debtors’ books and records and may not reflect
credits or allowances due from such creditors to the Debtors.

        29.     Schedule E/F reflects the prepetition amounts owing to counterparties to
executory contracts and unexpired leases. Such prepetition amounts, however, may be paid in
connection with the assumption, or assumption and assignment, of an executory contract or
unexpired lease. In addition, Schedule E/F does not include rejection damage claims of the
counterparties to the executory contracts and unexpired leases that have been or may be
rejected, to the extent such damage claims exist.

        30.     Schedule G - Unexpired Leases and Executory Contracts. The contracts,
agreements and leases listed on the Schedule G may have expired or may have been modified,
amended or supplemented from time to time by various amendments, restatements, waivers,
estoppels, certificates, letters, memoranda or other documents, instruments and agreements that
may not be listed on Schedule G, despite the Debtors’ use of reasonable efforts to identify such
documents. Certain of the executory contracts and unexpired leases listed on Schedule G may
contain certain renewal options, guarantees of payment, options to purchase, rights of first
refusal, and other miscellaneous rights, which are not set forth separately on Schedule G. In
addition, the Debtors may have entered into various other types of agreements in the ordinary
course of business, such as subordination, nondisturbance and attornment agreements,
supplemental agreements, amendments/letter agreements, title agreements and confidentiality
agreements. Such documents may not be set forth on Schedule G. Certain of the executory
contracts or unexpired leases listed in Schedule G may include one or more ancillary
documents, including but not limited to any underlying assignment and assumption agreements,
amendments, supplements, full and partial assignments, renewals and partial releases.
Executory contracts that are oral in nature, if any, have not been included on Schedule G. To
the extent the Court determines a particular contract not included on Schedule G is executory,
the Debtors will amend Schedule G to add that contract, as necessary or appropriate.

        31.     In addition, Schedule G does not include rejection damage claims of the
counterparties to the executory contracts and unexpired leases that have been or may be
rejected, to the extent such damage claims exist.

       32.     Omission of a contract or agreement from Schedule G does not constitute an

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admission that such omitted contract or agreement is not an executory contract or unexpired
lease. The Debtors’ rights under the Bankruptcy Code with respect to any such omitted
contracts or agreements are not impaired by the omission.

   IV.   SPECIFIC DISCLOSURES WITH RESPECT TO THE DEBTORS’
   STATEMENTS


        33.    Statements Item 7 – Litigation. Despite reasonable efforts, the Debtors may not
have identified all of their causes of action (filed or potential) against third parties as assets in
their Schedules and Statements. The Debtors reserve all rights with respect to any causes of
action and nothing in the Global Notes or the Schedules and Statements shall be deemed a
waiver of any such causes of action.

       34.     Statements Item 22 – Judicial or Administrative Proceedings Under
Environmental Law. Despite reasonable efforts, the Debtors may not have identified in their
Statements all judicial or administrative proceedings under environmental laws, including
settlements and orders, to which the Debtors have been a party. The Debtors reserve all rights
with respect to any judicial or administrative proceedings under any environmental law.

         35.   Statements Item 31 – Consolidated Group. As described above, for financial
reporting purposes, in the ordinary course prior to the Petition Date, the Debtors prepared
financial statements that were consolidated by Holdings. Although the Debtors’ consolidated
tax returns were not due prior to the Petition Date (and therefore such tax returns have not been
filed) the Debtors anticipate being treated as a consolidated group for tax purposes.




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  Fill in this information to identify the case:

  Debtor name: Water Gremlin Holdings, Inc.

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                    Check if this is an
  Case number: 23-11776
                                                                                                                                                    amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                              04/22


The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and
case number (if known).

Part 1:   Income

1. Gross revenue from business
     None

 Identify the beginning and ending dates of the debtor’s fiscal year, which may be      Sources of revenue                                        Gross revenue
 a calendar year                                                                        Check all that apply                                      (before deductions and
                                                                                                                                                  exclusions)


From the beginning of           From                      to     Filing Date               Operating a business
the fiscal year to filing
date:                                                                                      Other




For prior year:                 From                      to                               Operating a business

                                                                                           Other




For the year before that:       From                      to                               Operating a business

                                                                                           Other




2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List each
source and the gross revenue for each separately. Do not include revenue listed in line 1.
     None

                                                                                        Description of sources of revenue                         Gross revenue from
                                                                                                                                                  each source
                                                                                                                                                  (before deductions and
                                                                                                                                                  exclusions)

From the beginning of          From                       to     Filing Date                                                                                       $0.00
the fiscal year to filing      10/1/2023
date:

For prior year:                From                       to                                                                                                       $0.00
                               10/1/2022                  9/30/2023


For the year before that:      From                       to                           Interest Income                                                             $2.00
                               10/1/2021                  9/30/2022
Debtor    Water Gremlin Holdings, Inc._____________________________________________                   Case number (if known) 23-11776________________________________________
          Name
                                      Case 23-11775-LSS                     Doc 197              Filed 12/20/23            Page 12 of 40
  Part 2:    List Certain Transfers Made Before Filing for Bankruptcy

  3. Certain payments or transfers to creditors within 90 days before filing this case
  List payments or transfers - including expense reimbursements - to any creditor, other than regular employee compensation, within 90 days before filing this case unless the
  aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases
  filed on or after the date of adjustment.)
         None

   Creditor’s name and address                                  Dates                            Total amount or value       Reasons for payment or transfer
                                                                                                                             Check all that apply

  3.1
                                                                                                                                 Secured debt

                                                                                                                                 Unsecured loan repayments

                                                                                                                                 Suppliers or vendors

                                                                                                                                 Services

                                                                                                                                 Other




  4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
  List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or cosigned by an
  insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
  years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in
  control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any
  managing agent of the debtor. 11 U.S.C. § 101(31).
         None

   Insider’s name and address                                   Dates                            Total amount or value       Reasons for payment or transfer

  4.1
                                                                                                        $7,150,147.90            Secured debt
            See SOFA 4 Exhibit
                                                                                                                                 Unsecured loan repayments
            Relationship to debtor
                                                                                                                                 Suppliers or vendors

                                                                                                                                 Services

                                                                                                                                 Other



  5. Repossessions, foreclosures, and returns
  List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure sale,
  transferred by a deed in lieu of foreclosure, or returned to the seller.
  Do not include property listed in line 6.
         None

   Creditor’s name and address                                  Description of the property                                  Date                            Value of property

  5.1



  6. Setoffs
  List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor without
  permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
         None

   Creditor’s name and address                                  Description of the action creditor took                      Date action was taken           Amount

  6.1


                                                               Last 4 digits of account number
Debtor    Water Gremlin Holdings, Inc._____________________________________________                  Case number (if known) 23-11776________________________________________
          Name
                                      Case 23-11775-LSS                   Doc 197           Filed 12/20/23              Page 13 of 40
  Part 3:    Legal Actions or Assignments

  7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
  List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity—within 1
  year before filing this case.
         None

   Case title                                   Nature of case                               Court or agency’s name and address                         Status of case

  7.1
            Name                               Tort Claim                                   Name                                                            Pending
            Anderson, obo Darlene Frogner,                                                  State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                            On appeal
            deceased, v. Okabe Co., Ltd.                                                    Second Judicial District
                                                                                                                                                            Concluded
            d/b/a Water Gremlin Co., et. al.
                                                                                            Street
            Case number                                                                     15 W Kellogg Blvd
            N/A
                                                                                            City                              State     Zip
                                                                                            St Paul                           MN        55102


  7.2
            Name                               Tort Claim                                   Name                                                            Pending
            Anderson, obo Mark Anderson,                                                    State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                            On appeal
            deceased, v. Okabe Co., Ltd.                                                    Second Judicial District
                                                                                                                                                            Concluded
            d/b/a Water Gremlin Co., et. al.
                                                                                            Street
            Case number                                                                     15 W Kellogg Blvd
            N/A
                                                                                            City                              State     Zip
                                                                                            St Paul                           MN        55102

  7.3
            Name                               Tort Claim                                   Name                                                            Pending
            Anderson, v. Okabe Co., Ltd.                                                    State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                            On appeal
            d/b/a Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                            Concluded
            Case number                                                                     Street
            N/A                                                                             15 W Kellogg Blvd
                                                                                            City                              State     Zip
                                                                                            St Paul                           MN        55102

  7.4
            Name                               Tort Claim                                   Name                                                            Pending
            Bennek, v. Okabe Co., Ltd.                                                      State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                            On appeal
            d/b/a Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                            Concluded
            Case number                                                                     Street
            N/A                                                                             15 W Kellogg Blvd

                                                                                            City                              State     Zip
                                                                                            St Paul                           MN        55102

  7.5
            Name                               Tort Claim                                   Name                                                            Pending
            Bergman, v. Okabe Co., Ltd.                                                     State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                            On appeal
            d/b/a Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                            Concluded
            Case number                                                                     Street
            N/A                                                                             15 W Kellogg Blvd

                                                                                            City                              State     Zip
                                                                                            St Paul                           MN        55102
Debtor   Water Gremlin Holdings, Inc._____________________________________________            Case number (if known) 23-11776________________________________________
         Name
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  7.6
           Name                                Tort Claim                            Name                                                          Pending
           Brink, v. Okabe Co., Ltd. d/b/a                                           State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.7
           Name                                Tort Claim                            Name                                                          Pending
           Brown, v. Okabe Co., Ltd. d/b/a                                           State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.8
           Name                                Tort Claim                            Name                                                          Pending
           Carlson III, obo Dean Carlson                                             State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Jr., deceased, v. Okabe Co., Ltd.                                         Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.9
           Name                                Tort Claim                            Name                                                          Pending
           Carlson III, obo Jackie Carlson,                                          State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.10
           Name                                Tort Claim                            Name                                                          Pending
           Carlson, obo Sue Carlson,                                                 State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.11
           Name                                Tort Claim                            Name                                                          Pending
           Carlson, v. Okabe Co., Ltd.                                               State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           d/b/a Water Gremlin Co., et. al.                                          Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd

                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102
Debtor   Water Gremlin Holdings, Inc._____________________________________________            Case number (if known) 23-11776________________________________________
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  7.12
           Name                                Tort Claim                            Name                                                          Pending
           Cole, obo Barbara Svoboda,                                                State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.13
           Name                                Tort Claim                            Name                                                          Pending
           Cole, obo Richard Svoboda,                                                State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.14
           Name                                Tort Claim                            Name                                                          Pending
           Currier, v. Okabe Co., Ltd. d/b/a                                         State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd

                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.15
           Name                                Tort Claim                            Name                                                          Pending
           Currier, v. Okabe Co., Ltd. d/b/a                                         State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.16
           Name                                Tort Claim                            Name                                                          Pending
           DeMars, v. Okabe Co., Ltd.                                                State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           d/b/a Water Gremlin Co., et. al.                                          Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd

                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.17
           Name                                Tort Claim                            Name                                                          Pending
           Duffy, obo Greg Duffy,                                                    State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102
Debtor   Water Gremlin Holdings, Inc._____________________________________________            Case number (if known) 23-11776________________________________________
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  7.18
           Name                               Tort Claim                             Name                                                          Pending
           Erickson, obo Leilani Erickson,                                           State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.19
           Name                               Tort Claim                             Name                                                          Pending
           Evans (formerly Sage                                                      State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Hockinson), v. Okabe Co., Ltd.                                            Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.20
           Name                               Tort Claim                             Name                                                          Pending
           Flater, obo Thomas Flater,                                                State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.21
           Name                               Tort Claim                             Name                                                          Pending
           Gable, v. Okabe Co., Ltd. d/b/a                                           State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd

                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.22
           Name                               Tort Claim                             Name                                                          Pending
           Gavin, v. Okabe Co., Ltd. d/b/a                                           State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd

                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102


  7.23
           Name                               Tort Claim                             Name                                                          Pending
           Gonzales, v. Okabe Co., Ltd.                                              State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           d/b/a Water Gremlin Co., et. al.                                          Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102
Debtor   Water Gremlin Holdings, Inc._____________________________________________            Case number (if known) 23-11776________________________________________
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  7.24
           Name                               Tort Claim                             Name                                                          Pending
           Grogan, v. Okabe Co., Ltd. d/b/a                                          State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.25
           Name                               Tort Claim                             Name                                                          Pending
           Guanzini, obo Linda Guanzini,                                             State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.26
           Name                               Tort Claim                             Name                                                          Pending
           Gunn, v. Okabe Co., Ltd. d/b/a                                            State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102


  7.27
           Name                               Tort Claim                             Name                                                          Pending
           Hancock, v. Okabe Co., Ltd.                                               State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           d/b/a Water Gremlin Co., et. al.                                          Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.28
           Name                               Tort Claim                             Name                                                          Pending
           Hang, obo Mai Kou Xiong,                                                  State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102


  7.29
           Name                               Tort Claim                             Name                                                          Pending
           Hart, v. Okabe Co., Ltd. d/b/a                                            State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102
Debtor   Water Gremlin Holdings, Inc._____________________________________________            Case number (if known) 23-11776________________________________________
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  7.30
           Name                               Tort Claim                             Name                                                          Pending
           Hedican, obo Patrick Hedican,                                             State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.31
           Name                               Tort Claim                             Name                                                          Pending
           Heller, obo Karen Formanek,                                               State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102


  7.32
           Name                               Tort Claim                             Name                                                          Pending
           Heller, v. Okabe Co., Ltd. d/b/a                                          State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102


  7.33
           Name                               Tort Claim                             Name                                                          Pending
           Hughes, v. Okabe Co., Ltd.                                                State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           d/b/a Water Gremlin Co., et. al.                                          Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.34
           Name                               Tort Claim                             Name                                                          Pending
           Johnson, obo Ronald Johnson,                                              State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102


  7.35
           Name                               Tort Claim                             Name                                                          Pending
           Johnston, obo Karen Johnston,                                             State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102
Debtor   Water Gremlin Holdings, Inc._____________________________________________            Case number (if known) 23-11776________________________________________
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  7.36
           Name                               Tort Claim                             Name                                                          Pending
           Jungwirth, obo Brianna                                                    State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Jungwirth, deceased, v. Okabe                                             Second Judicial District
                                                                                                                                                   Concluded
           Co., Ltd. d/b/a Water Gremlin
                                                                                     Street
           Co., et. al.
                                                                                     15 W Kellogg Blvd
           Case number
                                                                                     City                              State    Zip
           N/A
                                                                                     St Paul                           MN       55102

  7.37
           Name                               Tort Claim                             Name                                                          Pending
           Kappes, v. Okabe Co., Ltd.                                                State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           d/b/a Water Gremlin Co., et. al.                                          Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd

                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102


  7.38
           Name                               Tort Claim                             Name                                                          Pending
           Kerstetter, obo Ardys Hawn,                                               State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.39
           Name                               Tort Claim                             Name                                                          Pending
           Knoche, obo Donald Johnson,                                               State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.40
           Name                               Tort Claim                             Name                                                          Pending
           Kohler, v. Okabe Co., Ltd. d/b/a                                          State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd

                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102


  7.41
           Name                               Tort Claim                             Name                                                          Pending
           Kraemer, v. Okabe Co., Ltd.                                               State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           d/b/a Water Gremlin Co., et. al.                                          Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102
Debtor   Water Gremlin Holdings, Inc._____________________________________________            Case number (if known) 23-11776________________________________________
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  7.42
           Name                               Tort Claim                             Name                                                          Pending
           Kubal, v. Okabe Co., Ltd. d/b/a                                           State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.43
           Name                               Tort Claim                             Name                                                          Pending
           LaLiberte, v. Okabe Co., Ltd.                                             State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           d/b/a Water Gremlin Co., et. al.                                          Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd

                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102


  7.44
           Name                               Tort Claim                             Name                                                          Pending
           Lanigan, v. Okabe Co., Ltd.                                               State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           d/b/a Water Gremlin Co., et. al.                                          Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.45
           Name                               Tort Claim                             Name                                                          Pending
           Leitschuh, obo Grant Leitschuh,                                           State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.46
           Name                               Tort Claim                             Name                                                          Pending
           Leitschuh, v. Okabe Co., Ltd.                                             State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           d/b/a Water Gremlin Co., et. al.                                          Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd

                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102


  7.47
           Name                               Tort Claim                             Name                                                          Pending
           Lillencrantz, v. Okabe Co., Ltd.                                          State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           d/b/a Water Gremlin Co., et. al.                                          Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102
Debtor   Water Gremlin Holdings, Inc._____________________________________________            Case number (if known) 23-11776________________________________________
         Name
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  7.48
           Name                               Tort Claim                             Name                                                          Pending
           Lofthus, obo Owen Lofthus,                                                State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.49
           Name                               Tort Claim                             Name                                                          Pending
           Luecke, v. Okabe Co., Ltd. d/b/a                                          State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd

                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102


  7.50
           Name                               Tort Claim                             Name                                                          Pending
           Malone, obo Gerard Malone,                                                State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.51
           Name                               Tort Claim                             Name                                                          Pending
           Missling, obo Roland Missling,                                            State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.52
           Name                               Tort Claim                             Name                                                          Pending
           Missling, v. Okabe Co., Ltd.                                              State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           d/b/a Water Gremlin Co., et. al.                                          Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd

                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102


  7.53
           Name                               Tort Claim                             Name                                                          Pending
           Monley, v. Okabe Co., Ltd. d/b/a                                          State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102
Debtor   Water Gremlin Holdings, Inc._____________________________________________            Case number (if known) 23-11776________________________________________
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  7.54
           Name                               Tort Claim                             Name                                                          Pending
           Nelson, obo Randy Nelson,                                                 State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.55
           Name                               Tort Claim                             Name                                                          Pending
           Newsom, obo Sarah Kraemer,                                                State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.56
           Name                               Tort Claim                             Name                                                          Pending
           Newsom, v. Okabe Co., Ltd.                                                State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           d/b/a Water Gremlin Co., et. al.                                          Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.57
           Name                               Tort Claim                             Name                                                          Pending
           Odden, obo Shari Bicha,                                                   State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102


  7.58
           Name                               Tort Claim                             Name                                                          Pending
           Prendergast, v. Okabe Co., Ltd.                                           State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           d/b/a Water Gremlin Co., et. al.                                          Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.59
           Name                               Tort Claim                             Name                                                          Pending
           Prock, v. Okabe Co., Ltd. d/b/a                                           State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd

                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102
Debtor   Water Gremlin Holdings, Inc._____________________________________________            Case number (if known) 23-11776________________________________________
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  7.60
           Name                               Tort Claim                             Name                                                          Pending
           Ray, v. Okabe Co., Ltd. d/b/a                                             State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102


  7.61
           Name                               Tort Claim                             Name                                                          Pending
           Robertson, v. Okabe Co., Ltd.                                             State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           d/b/a Water Gremlin Co., et. al.                                          Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.62
           Name                               Tort Claim                             Name                                                          Pending
           Robertson, v. Okabe Co., Ltd.                                             State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           d/b/a Water Gremlin Co., et. al.                                          Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd

                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102


  7.63
           Name                               Tort Claim                             Name                                                          Pending
           Rodvold, obo John Bucholz,                                                State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.64
           Name                               Tort Claim                             Name                                                          Pending
           Rossbach, obo Kylee Rossbach-                                             State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Jordan, deceased, v. Okabe Co.,                                           Second Judicial District
                                                                                                                                                   Concluded
           Ltd. d/b/a Water Gremlin Co.,
                                                                                     Street
           et. al.
                                                                                     15 W Kellogg Blvd
           Case number
                                                                                     City                              State    Zip
           N/A
                                                                                     St Paul                           MN       55102

  7.65
           Name                               Tort Claim                             Name                                                          Pending
           Sager, v. Okabe Co., Ltd. d/b/a                                           State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102
Debtor   Water Gremlin Holdings, Inc._____________________________________________            Case number (if known) 23-11776________________________________________
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  7.66
           Name                                Tort Claim                            Name                                                          Pending
           Sager, v. Okabe Co., Ltd. d/b/a                                           State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.67
           Name                                Tort Claim                            Name                                                          Pending
           Santi, obo Robert Kappes,                                                 State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.68
           Name                                Tort Claim                            Name                                                          Pending
           Saunders, v. Okabe Co., Ltd.                                              State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           d/b/a Water Gremlin Co., et. al.                                          Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.69
           Name                                Tort Claim                            Name                                                          Pending
           Sharot, v. Okabe Co., Ltd. d/b/a                                          State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102


  7.70
           Name                                Tort Claim                            Name                                                          Pending
           Skoog, v. Okabe Co., Ltd. d/b/a                                           State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.71
           Name                                Tort Claim                            Name                                                          Pending
           Staufer, v. Okabe Co., Ltd. d/b/a                                         State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd

                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102
Debtor   Water Gremlin Holdings, Inc._____________________________________________            Case number (if known) 23-11776________________________________________
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  7.72
           Name                                Tort Claim                            Name                                                          Pending
           Stauffer, obo Grace Stauffer,                                             State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           minor, v. Okabe Co., Ltd. d/b/a                                           Second Judicial District
                                                                                                                                                   Concluded
           Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102


  7.73
           Name                                Tort Claim                            Name                                                          Pending
           Stebbing, v. Okabe Co., Ltd.                                              State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           d/b/a Water Gremlin Co., et. al.                                          Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.74
           Name                                Tort Claim                            Name                                                          Pending
           Stevens, v. Okabe Co., Ltd.                                               State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           d/b/a Water Gremlin Co., et. al.                                          Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd

                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102


  7.75
           Name                                Tort Claim                            Name                                                          Pending
           Stortroen, obo Shirley Stortroen,                                         State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.76
           Name                                Tort Claim                            Name                                                          Pending
           Strong, obo Louise Bestow,                                                State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.77
           Name                                Tort Claim                            Name                                                          Pending
           Swearingen, obo Violet Hughes,                                            State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased v. Okabe Co., Ltd.                                               Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102
Debtor   Water Gremlin Holdings, Inc._____________________________________________            Case number (if known) 23-11776________________________________________
         Name
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  7.78
           Name                                Tort Claim                            Name                                                          Pending
           Swoboda, v. Okabe Co., Ltd.                                               State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           d/b/a Water Gremlin Co., et. al.                                          Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.79
           Name                                Tort Claim                            Name                                                          Pending
           Thomson, v. Okabe Co., Ltd.                                               State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           d/b/a Water Gremlin Co., et. al.                                          Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.80
           Name                                Tort Claim                            Name                                                          Pending
           Tierney, v. Okabe Co., Ltd. d/b/a                                         State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.81
           Name                                Tort Claim                            Name                                                          Pending
           Tilus, obo Laura Antrim,                                                  State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.82
           Name                                Tort Claim                            Name                                                          Pending
           Tripp, v. Okabe Co., Ltd. d/b/a                                           State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.83
           Name                                Tort Claim                            Name                                                          Pending
           Truhler, v. Okabe Co., Ltd. d/b/a                                         State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102
Debtor   Water Gremlin Holdings, Inc._____________________________________________            Case number (if known) 23-11776________________________________________
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  7.84
           Name                               Tort Claim                             Name                                                          Pending
           Turnbull, obo Marie Hedican,                                              State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102


  7.85
           Name                               Tort Claim                             Name                                                          Pending
           Vadnais, obo Thomas Vadnais,                                              State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.86
           Name                               Tort Claim                             Name                                                          Pending
           Wakefield-Olson, v. Okabe Co.,                                            State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Ltd. d/b/a Water Gremlin Co.,                                             Second Judicial District
                                                                                                                                                   Concluded
           et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102


  7.87
           Name                               Tort Claim                             Name                                                          Pending
           Watba, obo Akuthi Okoth,                                                  State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.88
           Name                               Tort Claim                             Name                                                          Pending
           Wilcox, obo Roxanne Wilcox,                                               State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           deceased, v. Okabe Co., Ltd.                                              Second Judicial District
                                                                                                                                                   Concluded
           d/b/a Water Gremlin Co., et. al.
                                                                                     Street
           Case number                                                               15 W Kellogg Blvd
           N/A
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102

  7.89
           Name                               Tort Claim                             Name                                                          Pending
           Wilcox, v. Okabe Co., Ltd. d/b/a                                          State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                   On appeal
           Water Gremlin Co., et. al.                                                Second Judicial District
                                                                                                                                                   Concluded
           Case number                                                               Street
           N/A                                                                       15 W Kellogg Blvd
                                                                                     City                              State    Zip
                                                                                     St Paul                           MN       55102
Debtor    Water Gremlin Holdings, Inc._____________________________________________                    Case number (if known) 23-11776________________________________________
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  7.90
            Name                                 Tort Claim                                   Name                                                              Pending
            Yasis, v. Okabe Co., Ltd. d/b/a                                                   State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                                On appeal
            Water Gremlin Co., et. al.                                                        Second Judicial District
                                                                                                                                                                Concluded
            Case number                                                                       Street
            N/A                                                                               15 W Kellogg Blvd
                                                                                              City                                  State   Zip
                                                                                              St Paul                               MN      55102

  7.91
            Name                                 Tort Claim                                   Name                                                              Pending
            Ziedlik, v. Okabe Co., Ltd. d/b/a                                                 State of Minnesota, County of Ramsey, District Court,
                                                                                                                                                                On appeal
            Water Gremlin Co., et. al.                                                        Second Judicial District
                                                                                                                                                                Concluded
            Case number                                                                       Street
            N/A                                                                               15 W Kellogg Blvd

                                                                                              City                                  State   Zip
                                                                                              St Paul                               MN      55102

  8. Assignments and receivership
  List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver, custodian, or
  other court-appointed officer within 1 year before filing this case.
         None

   Custodian’s name and address                                 Description of the property                                  Value

  8.1
            Custodian's name and address

                                                               Case title                                                    Court name and address
            Street                                                                                                           Name

                                                               Case number
            City                        State    Zip                                                                         Street

                                                               Date of order or assignment
                                                                                                                             City                               State       Zip



  Part 4:    Certain Gifts and Charitable Contributions

  9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts to that recipient is
  less than $1,000
         None

   Recipient’s name and address                                 Description of the gifts or contributions                    Dates given                    Value

  9.1
            Recipient's name


            Street


            City                        State    Zip


            Recipient’s relationship to debtor
Debtor    Water Gremlin Holdings, Inc._____________________________________________                    Case number (if known) 23-11776________________________________________
          Name
                                       Case 23-11775-LSS                     Doc 197            Filed 12/20/23              Page 29 of 40
  Part 5:    Losses

  10. All losses from fire, theft, or other casualty within 1 year before filing this case
         None

   Description of the property lost and how the loss            Amount of payments received for the loss                     Date of loss                 Value of property lost
   occurred                                                     If you have received payments to cover the loss, for
                                                                example, from insurance, government
                                                                compensation, or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B
                                                                (Schedule A/B: Assets – Real and Personal
                                                                Property).

  10.1



  Part 6:    Certain Payments or Transfers

  11. Payments related to bankruptcy
  List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to another
  person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.
         None

   Who was paid or who received the transfer?                   If not money, describe any property transferred              Dates                        Total amount or value

  11.1



            Email or website address


            Who made the payment, if not debtor?



  12. Self-settled trusts of which the debtor is a beneficiary
  List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled trust or
  similar device.
  Do not include transfers already listed on this statement.
         None

   Name of trust or device                                      Describe any property transferred                            Dates transfers were         Total amount or value
                                                                                                                             made

  12.1


            Trustee


  13. Transfers not already listed on this statement
  List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor within 2 years before the filing
  of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both outright transfers and transfers made as
  security. Do not include gifts or transfers previously listed on this statement.
         None

   Who received transfer?                                       Description of property transferred or payments              Date transfer was            Total amount or value
                                                                received or debts paid in exchange                           made

  13.1



            Relationship to debtor
Debtor     Water Gremlin Holdings, Inc._____________________________________________                        Case number (if known) 23-11776________________________________________
           Name
                                             Case 23-11775-LSS                Doc 197               Filed 12/20/23                  Page 30 of 40
  Part 7:      Previous Locations

  14. Previous addresses
  List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         Does not apply

   Address                                                                                                            Dates of occupancy

  14.1
              Street                                                                                                 From                              to


               City                                                 State             Zip



  Part 8:      Health Care Bankruptcies

  15. Health Care bankruptcies
  Is the debtor primarily engaged in offering services and facilities for:
         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to part 9.

         Yes. Fill in the information below.

   Facility name and address                                                       Nature of the business operation, including type of services the           If debtor provides
                                                                                   debtor provides                                                            meals and housing,
                                                                                                                                                              number of patients in
                                                                                                                                                              debtor's care

  15.1
              Street

                                                                                   Location where patient records are maintained(if different from facility   How are records kept?
               City                              State       Zip                   address). If electronic, identify any service provider                     Check all that apply:
                                                                                                                                                                  Electronically

                                                                                                                                                                  Paper

  Part 9:      Personally Identifiable Information

  16. Does the debtor collect and retain personally identifiable information of customers?

         No.

         Yes. State the nature of the information collected and retained.

                  Does the debtor have a privacy policy about that information?
                       No

                       Yes

  17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or profit-sharing plan made
  available by the debtor as an employee benefit?
         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                       No. Go to Part 10.
                       Yes. Fill in below:
  Name of plan                                                                                     Employer identification number of the plan
  Water Gremlin Company Retirement Plan                                                            XX-XXXXXXX

  Has the plan been terminated?
         No

         Yes
Debtor    Water Gremlin Holdings, Inc._____________________________________________                  Case number (if known) 23-11776________________________________________
          Name
                                     Case 23-11775-LSS                      Doc 197           Filed 12/20/23              Page 31 of 40
  Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

  18. Closed financial accounts
  Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved, or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives,
  associations, and other financial institutions.
         None

   Financial institution name and address                                      Last 4          Type of account               Date account was               Last balance before
                                                                               digits of                                     closed, sold, moved, or        closing or transfer
                                                                               account                                       transferred
                                                                               number

  18.1
             Name                                                             2369                Checking                  6/30/2023                                      $74.18
             Mitsubishi Bank
                                                                                                  Savings
             Street
             227 West Monroe St Ste 1550                                                          Money market
             City                             State       Zip                                     Brokerage
             Chicago                          IL          60606
                                                                                                   Other




  19. Safe deposit boxes
  List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
         None

   Depository institution name and address                      Names of anyone with access to it             Description of the contents                   Does debtor still have
                                                                                                                                                            it?

  19.1
             Name                                                                                                                                             No
                                                                Address
                                                                                                                                                              Yes
             Street


             City                    State     Zip



  20. Off-premises storage
  List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor does
  business.
         None

   Facility name and address                                    Names of anyone with access to it             Description of the contents                   Does debtor still have
                                                                                                                                                            it?

  20.1
             Name                                                                                                                                             No
                                                                Address
                                                                                                                                                              Yes
             Street


             City                    State     Zip
Debtor    Water Gremlin Holdings, Inc._____________________________________________                                Case number (if known) 23-11776________________________________________
          Name
                                            Case 23-11775-LSS                          Doc 197             Filed 12/20/23                 Page 32 of 40
  Part 11:       Property the Debtor Holds or Controls that the Debtor Does Not Own

  21. Property held for another
  List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list leased or rented
  property
         None

   Owner’s name and address                                              Location of the property                           Description of the property                        Value

  21.1



  Part 12:       Details About Environmental Information

  For the purpose of Part 12, the following definitions apply:
           Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium affected (air, land, water,
               or any other medium).


               Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated, or utilized.

               Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful substance.

  Report all notices, releases, and proceedings known, regardless of when they occurred.

  22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders

         No.

         Yes. Provide details below.


   Case title                                           Court or agency name and address                                    Nature of the case                                 Status of case

  22.1
             Air Emission Permit No.                    Name                                                               Air Permit Proceeding                                   Pending
             12300341-101, major                        Minnesota Pollution Control Agency
             amendment pursuant to Minn.                                                                                                                                           On appeal
                                                        Street
             R. 7007.1150 to 7007.1500
                                                        520 Lafayette Road N.                                                                                                      Concluded
             Dated 6/15/2023
                                                        City                                   State      Zip
             Case Number
                                                        St. Paul                               MN         55155-
             N/A
                                                                                                          4194

  22.2
             In the Denial of Contested Case            Name                                                               Air emissions permit appeal                             Pending
             Hearing Request and Issuance               Minnesota Court of Appeals
             of Air Emissions Permit No.                                                                                                                                           On appeal
                                                        Street
             12300341-101 for Water
                                                        25 Rev Dr Martin Luther King Jr Boulevard                                                                                  Concluded
             Gremlin Company City of White
             Bear Lake, Ramsey County,                  City                                   State      Zip
             Minnesota                                  St Paul                                MN         55155

             Case Number
             A23-1019
Debtor    Water Gremlin Holdings, Inc._____________________________________________                Case number (if known) 23-11776________________________________________
          Name
                                        Case 23-11775-LSS                 Doc 197           Filed 12/20/23              Page 33 of 40
  23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an environmental law?
         No

         Yes. Provide details below.

   Site name and address                        Governmental unit name and address                         Environmental law, if known                  Date of notice

  23.1
              Name                             Name


              Street                           Street


              City           State     Zip     City                              State     Zip



  24. Has the debtor notified any governmental unit of any release of hazardous material?
         No

         Yes. Provide details below.

   Site name and address                        Governmental unit name and address                         Environmental law, if known                  Date of notice

  24.1
              Name                             Name                                                       Petition for Writ of Certiorari - In the     7/13/2023
              Water Gremlin Headquarter        State of Minnesota Court of Appeals                        Matter of the Denial of Contested Case
                                                                                                          Hearing Request and Issuance of Air
              Street                           Street
                                                                                                          Emissions Permit No. 12300341-101 for
              4400 Otter Lake Road             305 Minnesota Judicial Center, 25 Rev. Dr. Martin
                                                                                                          Water Gremlin Company City of White
                                               Luther King Jr. Blvd.
              City           State     Zip                                                                Bear Lake, Ramsey County, Minnesota
              White Bear     MN        55110   City                              State     Zip
              Township                         St. Paul                          MN        55155

  Part 13:       Details About the Debtor's Business or Connections to Any Business

  25. Other businesses in which the debtor has or has had an interest
  List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this information even if
  already listed in the Schedules.

         None

   Business name and address                                  Describe the nature of the business                         Employer Identification number
                                                                                                                          Do not include Social Security number or ITIN.

  25.1
                                                             Battery Terminal Manufacturer                                EIN      XX-XXXXXXX
              Water Gremlin Company
              4400 Otter Lake Rd                                                                                          Dates business existed
              White Bear Township, MN 55110                                                                               From                         to
                                                                                                                          11/12/1949                   Present

  25.2
                                                             Battery Terminal Manufacturer                                EIN      N/A
              Water Gremlin Aquila Company S.p.A.
              Via Firenze 1C/3                                                                                            Dates business existed
              Cellatica, BS 25060                                                                                         From                         to
              Italy                                                                                                       5/13/1965                    Present
Debtor    Water Gremlin Holdings, Inc._____________________________________________               Case number (if known) 23-11776________________________________________
          Name
                                    Case 23-11775-LSS                     Doc 197           Filed 12/20/23             Page 34 of 40
  26. Books, records, and financial statements
  26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         None

   Name and address                                                                                                       Dates of service

  26a.1
                                                                                                                         From                         to
            Ellen Scipta                                                                                                 6/28/2023                    Present
            c/o Riveron Management Services, LLC
            2515 Mckinney Ave Ste 1200
            Dallas, TX 75201


  26a.2
                                                                                                                         From                         to
            Jason P Kromrey                                                                                              10/31/2011                   Present
            4400 Otter Lake Rd
            White Bear Township, MN 55110


  26a.3
                                                                                                                         From                         to
            Paula Jarvinen                                                                                               3/20/2006                    12/8/2023
            4400 Otter Lake Rd
            White Bear Township, MN 55110


  26a.4
                                                                                                                         From                         to
            Peter C Eckberg                                                                                              12/28/2021                   7/7/2023
            4400 Otter Lake Rd
            White Bear Township, MN 55110


  26a.5
                                                                                                                         From                         to
            Riveron Managment Services, LLC                                                                              6/28/2023                    10/26/2023
            2515 Mckinney Ave Ste 1200
            Dallas, TX 75201


  26a.6
                                                                                                                         From                         to
            Riveron RTS, LLC                                                                                             10/27/2023                   Present
            2515 Mckinney Ave Ste 1200
            Dallas, TX 75201


  26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement within 2 years before filing
  this case.
         None

   Name and address                                                                                                       Dates of service

  26b.1
                                                                                                                         From                         to
            Ellen Scipta                                                                                                 6/28/2023                    Present
            c/o Riveron Management Services, LLC
            2515 Mckinney Ave Ste 1200
            Dallas, TX 75201


  26b.2
                                                                                                                         From                         to
            EOS Accountants LLP                                                                                          August                       Present
            Attn: Masanobu Tsuchiya, Partner                                                                             2023
            401 Hackensack Ave., 1001
            Hackensack, NJ 07601
Debtor    Water Gremlin Holdings, Inc._____________________________________________                Case number (if known) 23-11776________________________________________
          Name
                                     Case 23-11775-LSS                    Doc 197           Filed 12/20/23             Page 35 of 40

  26b.3
                                                                                                                         From                        to
            Grant Thorton LLP                                                                                            December                    January
            Attn: Hiral Shah, Managing Director                                                                          2022                        2023
            500 N. Akard, Suite 1200
            Dallas, TX 75201


  26b.4
                                                                                                                         From                        to
            Jason P Kromrey                                                                                              10/31/2011                  Present
            4400 Otter Lake Rd
            White Bear Township, MN 55110


  26b.5
                                                                                                                         From                        to
            Paula Jarvinen                                                                                               3/20/2006                   12/8/2023
            4400 Otter Lake Rd
            White Bear Township, MN 55110


  26b.6
                                                                                                                         From                        to
            Peter C Eckberg                                                                                              12/28/2021                  7/7/2023
            4400 Otter Lake Rd
            White Bear Township, MN 55110


  26b.7
                                                                                                                         From                        to
            Riveron Managment Services, LLC                                                                              6/28/2023                   10/26/2023
            2515 Mckinney Ave Ste 1200
            Dallas, TX 75201


  26b.8
                                                                                                                         From                        to
            Riveron RTS, LLC                                                                                             10/27/2023                  Present
            2515 Mckinney Ave Ste 1200
            Dallas, TX 75201


  26b.9
                                                                                                                         From                        to
            RSM US LLP                                                                                                   October                     September
            Attn: Adam Kolo, Assurance Senior Director                                                                   2020                        2022
            801 Nicollet Mall, West Tower, Ste. 1200
            Minneapolis, MN 55402-2526


  26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
         None

   Name and address                                                                                                       If any books of account and records are unavailable,
                                                                                                                          explain why

  26c.1

            Ellen Scipta
            c/o Riveron Management Services, LLC
            2515 Mckinney Ave Ste 1200
            Dallas, TX 75201
Debtor    Water Gremlin Holdings, Inc._____________________________________________                 Case number (if known) 23-11776________________________________________
          Name
                                       Case 23-11775-LSS                   Doc 197           Filed 12/20/23              Page 36 of 40

  26c.2

            EOS Accountants LLP
            Attn: Masanobu Tsuchiya, Partner
            401 Hackensack Ave., 1001
            Hackensack, NJ 07601


  26c.3

            Jason P Kromrey
            4400 Otter Lake Rd
            White Bear Township, MN 55110


  26c.4

            Paula Jarvinen
            4400 Otter Lake Rd
            White Bear Township, MN 55110


  26c.5

            Riveron RTS, LLC
            2515 Mckinney Ave Ste 1200
            Dallas, TX 75201


  26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement within 2 years before
  filing this case.
         None

   Name and address

  26d.1

            Mizuho Bank
            Attn: Hiroyuki Zaitsu
            1-1-15 Asakusa, Taito-ku
            Tokyo 111-0032
            Japan


  26d.2

            SG Credit Partners, Inc.
            500 Newport Center Dr, Ste 580
            Newport Beach, CA 92660
Debtor    Water Gremlin Holdings, Inc._____________________________________________                  Case number (if known) 23-11776________________________________________
          Name
                                          Case 23-11775-LSS               Doc 197           Filed 12/20/23              Page 37 of 40
  27. Inventories
  Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         No

         Yes. Give the details about the two most recent inventories.

   Name of the person who supervised the taking of the inventory                            Date of inventory              The dollar amount and basis (cost, market, or other
                                                                                                                           basis) of each inventory

  28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the debtor at the
  time of the filing of this case.
   Name and Address                                                                         Position and nature of any interest          % of interest, if any

  28.1
                                                                                           Parent Company                               100%
              Okabe Co., Ltd
              2-8-2, Oshiage, Sumida-ku
              Tokyo 131-0045
              Japan


  28.2
                                                                                           Director                                     N/A
              Edwin T. Gavin
              c/o Water Gremlin Compmany
              4400 Otter Lake Rd
              White Bear Township, MN 55110


  28.3
                                                                                           Director                                     N/A
              Mizuhiro Toki
              c/o Okabe Co., Ltd
              2-8-2, Oshiage, Sumida-ku
              Tokyo 131-0045
              Japan


  28.4
                                                                                           Director                                     N/A
              Tsutomu Tanaka
              c/o Okabe Co., Ltd
              2-8-2, Oshiage, Sumida-ku
              Tokyo 131-0045
              Japan


  28.5
                                                                                           Director                                     N/A
              Yasunobu Yamazaki
              c/o Okabe Co., Ltd
              2-8-2, Oshiage, Sumida-ku
              Tokyo 131-0045
              Japan


  28.6
                                                                                           Director                                     N/A
              Yasushi Hosomichi
              c/o Okabe Co., Ltd
              2-8-2, Oshiage, Sumida-ku
              Tokyo 131-0045
              Japan
Debtor    Water Gremlin Holdings, Inc._____________________________________________                 Case number (if known) 23-11776________________________________________
          Name
                                     Case 23-11775-LSS                     Doc 197           Filed 12/20/23              Page 38 of 40
  29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of the debtor, or
  shareholders in control of the debtor who no longer hold these positions?
         No

         Yes. Identify below.

   Name and Address                                                                          Position and nature of any interest           Period during which position or
                                                                                                                                           interest was held

  29.1
                                                                                                                                          From                  to



  30. Payments, distributions, or withdrawals credited or given to insiders
  Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans, credits on loans,
  stock redemptions, and options exercised?
         No

         Yes. Identify below.

   Name and address of recipient                                              Amount of money or description and            Dates                         Reason for providing
                                                                              value of property                                                           the value

  30.1

              See SOFA 4 Exhibit


   Relationship To Debtor




  31.Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         No

         Yes. Identify below.

   Name of the parent corporation                                                                                           Employer Identification number of the parent
                                                                                                                            corporation

  31.1
                                                                                                                           EIN

  32.Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
         No

         Yes. Identify below.

   Name of the pension fund                                                                                                 Employer Identification number of the pension fund

  32.1
                                                                                                                           EIN
                                                                Case 23-11775-LSS                           Doc 197               Filed 12/20/23
                                                                                                                  SOFA 4 ATTACHMENT
                                                                                                                                                                    Page 39 of 40
                                                                         Payments or other transfers of property made within 1 year before filing this case that benefited any insider


                    Insider's Name                  Address 1                    City              State      ZIP       Country        Relationship to the Debtor       Payment Date     Payment Amount          Reason for Payment or Transfer
        OCM, Inc.                         1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                12/27/2022             $60,000.00 80 Bays of double deep selective racking
        OCM, Inc.                         1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                 4/14/2023             $38,146.12 80 Bays of double deep selective racking -
                                                                                                                                                                                                           additional
                                                                                                                                                                                TOTAL:          $98,146.12
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                11/9/2022              $35,154.00 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                11/9/2022              $20,728.22 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                11/9/2022              $10,354.50 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                11/9/2022              $44,349.12 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                11/9/2022              $32,823.94 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                11/9/2022                 $574.88 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                11/16/2022              $3,480.88 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                11/30/2022             $35,154.00 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                11/30/2022             $27,637.63 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                11/30/2022             $10,354.50 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                11/30/2022             $51,740.64 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                12/8/2022             $219,749.76 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                1/23/2023              $59,328.00 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                1/26/2023              $37,800.00 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                1/26/2023              $27,612.00 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                 2/6/2023              $37,800.00 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                 2/6/2023              $27,612.00 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                2/21/2023                 $530.00 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                 3/3/2023              $19,626.94 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                 3/3/2023              $37,800.00 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                 3/3/2023              $27,612.00 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                 3/3/2023              $14,468.76 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                3/16/2023              $37,080.00 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                3/31/2023               $4,612.50 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                4/10/2023              $19,626.94 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                4/10/2023              $37,800.00 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                4/10/2023              $27,612.00 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                4/10/2023              $14,468.76 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                4/27/2023               $2,651.63 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                 5/9/2023              $27,612.00 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                 5/9/2023              $14,468.76 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                 5/9/2023              $37,800.00 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                 8/8/2023              $45,360.00 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                8/28/2023               $1,077.00 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                 9/5/2023              $60,480.00 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                 9/8/2023               $1,077.00 Inventory purchase from Okabe Co.
        Okabe Co., Inc.                   1120 E Peterson Rd             Grayslake               IL        60030                                Affiliate                9/29/2023              $11,604.60 Inventory purchase from Okabe Co.
                                                                                                                                                                                TOTAL:       $1,125,622.96
        Okabe Ltd (Japan)                 4-21-15, Mukojima, Sumida-Ku   Tokyo                             131-8505    Japan                     Parent                  4/10/2023              $25,415.10 Personnel Expenses
        Okabe Ltd (Japan)                 4-21-15, Mukojima, Sumida-Ku   Tokyo                             131-8505    Japan                     Parent                  4/10/2023               $8,795.10 Financial guarantee chrg F23Q1
                                                                                                                                                                                TOTAL:          $34,210.20
        Water Gremlin Aquila Company S.   Via Firenze, 1C/3              Cellatica               Brescia   25060       Italy                   Subsidiary                11/9/2022             $124,614.41 Inventory/Materials
        Water Gremlin Aquila Company S.   Via Firenze, 1C/3              Cellatica               Brescia   25060       Italy                   Subsidiary                11/9/2022             $201,689.40 Inventory/Materials
        Water Gremlin Aquila Company S.   Via Firenze, 1C/3              Cellatica               Brescia   25060       Italy                   Subsidiary                11/9/2022              $72,769.20 Inventory/Materials
        Water Gremlin Aquila Company S.   Via Firenze, 1C/3              Cellatica               Brescia   25060       Italy                   Subsidiary                11/9/2022              $96,167.74 Inventory/Materials
        Water Gremlin Aquila Company S.   Via Firenze, 1C/3              Cellatica               Brescia   25060       Italy                   Subsidiary                11/9/2022                  $47.00 Contract Wire Fee
        Water Gremlin Aquila Company S.   Via Firenze, 1C/3              Cellatica               Brescia   25060       Italy                   Subsidiary                1/13/2023             $141,990.86 Inventory/Materials
        Water Gremlin Aquila Company S.   Via Firenze, 1C/3              Cellatica               Brescia   25060       Italy                   Subsidiary                1/13/2023                  $47.00 Contract Wire Fee
        Water Gremlin Aquila Company S.   Via Firenze, 1C/3              Cellatica               Brescia   25060       Italy                   Subsidiary                 2/2/2023               $9,120.00 Jan WGA Mgmt Fee
        Water Gremlin Aquila Company S.   Via Firenze, 1C/3              Cellatica               Brescia   25060       Italy                   Subsidiary                 2/7/2023              $82,080.00 Inventory/Materials
        Water Gremlin Aquila Company S.   Via Firenze, 1C/3              Cellatica               Brescia   25060       Italy                   Subsidiary                 2/7/2023                  $47.00 Contract Wire Fee
        Water Gremlin Aquila Company S.   Via Firenze, 1C/3              Cellatica               Brescia   25060       Italy                   Subsidiary                6/16/2023             $132,497.10 Inventory/Materials
        Water Gremlin Aquila Company S.   Via Firenze, 1C/3              Cellatica               Brescia   25060       Italy                   Subsidiary                6/16/2023                  $47.00 Contract Wire Fee
        Water Gremlin Aquila Company S.   Via Firenze, 1C/3              Cellatica               Brescia   25060       Italy                   Subsidiary                7/13/2023               $7,716.91 Inventory/Materials
        Water Gremlin Aquila Company S.   Via Firenze, 1C/3              Cellatica               Brescia   25060       Italy                   Subsidiary                7/13/2023                  $35.00 Contract Wire Fee
                                                                                                                                                                                TOTAL:         $868,868.62
        Water Gremlin Company             4400 Otter Lake Rd             White Bear Township MN            55110                               Subsidiary                10/23/2023                $650.00 Dividend Payment
        Water Gremlin Company             4400 Otter Lake Rd             White Bear Township MN            55110                               Subsidiary                12/27/2022          $5,022,650.00 Dividend Payment
                                                                                                                                                                                TOTAL:       $5,023,300.00
                                                                                                                                                                        GRAND TOTAL:         $7,150,147.90



In re: Water Gremlin Holdings, Inc.
Case No. 23-11776                                                                                                        Page 1 of 1
                                   Case 23-11775-LSS                        Doc 197             Filed 12/20/23             Page 40 of 40

Fill in this information to identify the case:

Debtor name: Water Gremlin Holdings, Inc.

United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                               Check if this is an
Case number: 23-11776
                                                                                                                                                               amended filing




WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result
in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.
I declare under penalty of perjury that the foregoing is true and correct.

Executed on
12/18/2023



/s/ Bradley J. Hartsell                                                                        Bradley J. Hartsell
Signature of individual signing on behalf of debtor                                            Printed name

Authorized Signer

Position or relationship to debtor


Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

     No

     Yes
